           Case 24-90533 Document 220 Filed in TXSB on 12/01/24 Page 1 of 4




IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

                                                                               CASE NO: 24-90533 (ARP)
 In Re:                                                                        CHAPTER 11
                                                                               (JOINTLY ADMINISTERED)

 WELLPATH HOLDINGS, INC., et. al.,
             Debtors.
__________________________/

             CLAIMANTS’ GRACIENNE MYERS’ and DANIEL MYERS’
    OBJECTION TO ENTRY OF A FINAL ORDER ON DEBTORS’ EMERGENCY
   MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS TO ENFORCE THE
 AUTOMATIC STAY OR IN THE ALTERNATIVE EXTEND THE AUTOMATIC STAY
               TO NON-DEBTOR and DEBTOR DEFENDANTS

      Gracienne Myers and Daniel Myers, (hereinafter collectively referred to as “Claimant's"),

by and through their undersigned counsel, hereby file Claimants’ Gracienne Myers and Daniel

Myers Objection to Entry of a Final Order on Debtors’ Emergency Motion for Entry of Interim

and Final Orders to Enforce the Automatic Stay or in the Alternative Extend the Automatic Stay

to Non-Debtor Defendants, (“Objection”), respectfully set forth and show:

          1.      Claimants’ pre-petition state court action against non-debtor, TB Isle Resort, L.P.,

and related debtor 901 45TH STREET WEST PALM BEACH FLORIDA

BEHAVIORAL HEALTH HOSPITAL COMPANY, LLC, (“Debtor”), and, its employee,

TARIKA WYNDS, (“Wynds”) should be excluded from this Court’s Final Order because:

                (a) TB Isle Resort, L.P. is an insured non-debtor, completely unaffiliated with the

 debtor and related debtors;

               (b) 901 45TH STREET WEST PALM BEACH FLORIDA BEHAVIORAL HEALTH

 HOSPITAL COMPANY, LLC, (“Debtor”), and, its employee, TARIKA WYNDS, (“Wynds”)

 are insured for the incident alleged in Claimant’s pre-petition law suit for damages, legal

 defense costs and attorney’s fees; and

                © the pre-petition lawsuit will serve to liquidate by a jury trial the amount of


                      BEHAR, GUTT & GLAZER, P.A. DCOTA, SUITE A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
          DADE: 305-931-3771 • BROWARD: 954-733-7030 • PALM BEACH: 561-347-7160 • DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
        Case 24-90533 Document 220 Filed in TXSB on 12/01/24 Page 2 of 4




                                         2
Claimants’ damages in the event a claim against the debtor in this bankruptcy becomes

necessary

       2. Claimants file this Objection to the entry of a final order on the Debtors’ Emergency

 Motion for Entry of Interim and Final Orders to Enforce the Automatic Stay or in the

Alternative Extend the Automatic Stay to Non-Debtor Defendants, [ECF #17], (“Stay Extend

Motion”). This Objection is filed per the dictates contained in the Amended Interim Order

Enforcing the Automatic Stay, [ECF #69], (“Stay Extend Order”).

       3.   Pending before the Court is Claimants Gracienne Myers and Daniel Myers Motion

for Relief From Automatic Stay to Allow Insurance Covered Liability Action to Proceed, [ECF

#181], (“Stay Relief Motion”). The Stay Relief Motion is incorporated herein by reference and

made a part hereof.

       4.      The Stay Relief Motion summarizes the pre-petition state court action against the

non-debtor and the debtor:

               a. In 2023, Claimants sued non-debtor, TB Isle Resort, LLP, for the traumatic brain
                  injury GRACIENNE MYERS suffered from the defendants negligence. The
                  suit was filed in Miami-Dade Circuit Court, in and for the State of Florida
                  Gracienne Myers and Daniel Myers vs TB Isle Resort LP, Case No.: 2023-
                  24472 CA 01, (“State Court Action”). A true copy of the Amended
                  Complaint filed in the State Court Action is attached to this Objection as
                  Exhibit “A” and made a part hereof.
               b. On October 1, 2024, 901 45TH STREET WEST PALM BEACH
                  FLORIDA BEHAVIORAL HEALTH HOSPITAL COMPANY, LLC,
                  (“Debtor”), and, its employee, TARIKA WYNDS, (“Wynds”), were joined in
                  the State Court Action based on their negligence when Claimant
                  GRACIENNE MYERS came under their care for her psychosis from the
                  traumatic brain injury, and she ended up being a victim of a sexual assault
                  from another patient in Debtor’s care.
               c. Claimant, DANIEL MYERS, sued the Debtor and Wynds in the State Court
                  Action for contracting the sexually transmitted disease which Debtor falsely
                  advised him his wife had not contracted.

                      Stay Relief Motion at *2.

      5.     Unlike the basis for stay argued by the Debtors in their Stay Extend Motion, which

resulted in the entry of the Interim Stay Extend Order, Claimants claims against the non-debtor

and the debtor do not “involve issues concerning the quality of medical care provided to
        Case 24-90533 Document 220 Filed in TXSB on 12/01/24 Page 3 of 4




                                           3
incarcerated individuals.” Nor does Claimants’ lawsuit involve “…derivative theories of

liability...” See Stay Extend Motion.

      6.        Claimants Meyers’ request that the bankruptcy automatic stay be lifted with regard

to non-debtor TB Isle Resort, LP and as to 901 45TH STREET WEST PALM BEACH

FLORIDA BEHAVIORAL HEALTH HOSPITAL COMPANY, LLC, (“Debtor”), and, its

employee, TARIKA WYNDS, (“Wynds”).

      7.      As concerns TB Isle Resort, LP, the State Court Action is based on premises liability

negligence involving the failure of TB Isle Resort, LP to provide a reasonably safe environment

for persons, such as invitee Claimant Gracienne Myers. TB Ilse Resort, LP, is fully insured and

is not a debtor. As such, there is no basis to continue the automatic stay to protect TB Isle

Resort, LP. Moreover, counsel for the debtor has no objection to vacating the stay as it relates to

TB Isle Resort, LP.

      8.         With respect to related debtors 901 45TH STREET WEST PALM BEACH

FLORIDA BEHAVIORAL HEALTH HOSPITAL COMPANY, LLC, (“Debtor”), and, its

employee, TARIKA WYNDS, (“Wynds”), as ECF 181 establishes, both are insured with limits

of $3,000,000 per claimant for damages and the policy provides for defense legal fees and costs.

The State Court action will serve to liquidate the amount of Claimants’ claim, in the event it

exceeds the available $6,000,000 in primary insurance coverage.

      9.         State court hearings in the action are scheduled December 11, 2024 and December

13, 2024 involving fully briefed pre-petition motions filed by the related debtors. Although

Claimants’ have a hearing set on their motion for relief from stay, DE 181, on December 19,

2024, Claimants’ submit that issues of judicial economy indicate this Court should grant relief

from the stay as to the related debtors at the December 5, 2024 hearing on this objection so that

the state court hearings may proceed as scheduled.

      WHEREFORE, Claimants respectfully pray that this Court sustain this Objection, and


                   BEHAR, GUTT & GLAZER, P.A. DCOTA, SUITE A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
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        Case 24-90533 Document 220 Filed in TXSB on 12/01/24 Page 4 of 4




                                                4
exclude from the entry of any final order on the Stay Extend Motion, the continued extension of

the automatic stay as it relates to the State Court Action commenced by Claimants against TB

Isle Resort, LLP, and the related debtors 901 45TH STREET WEST PALM BEACH FLORIDA

BEHAVIORAL HEALTH HOSPITAL COMPANY, LLC, (“Debtor”), and, its employee,

TARIKA WYNDS, (“Wynds”), and for such other and further relief as the Court may deem just

and proper under the circumstances.

                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 1, 2024, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF, and that the foregoing document is being

served this day on all counsel of record or pro se parties authorized manner for those counsel or

parties who are authorized to receive electronically Notices of Electronic Filing.

                                              Respectfully submitted,

                                              BEHAR, GUTT & GLAZER, P.A.
                                              Attorneys for Gracienne & Daniel Myers
                                              DCOTA, 1855 Griffin Road, Suite A-350
                                              Ft. Lauderdale, Florida 33004
                                              Telephone: (954)266-3710
                                              Fax: (954) 266-3709
                                              Email: bsb@bgglaw.com
                                              Secondary: jgarcia@bgglaw.com

                                              By: /s/ Brian S. Behar
                                              BRIAN S. BEHAR
                                              FBN: 727131
